®&JS 44 (Rev. 11/04)

by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of t
(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other pancrs as required by law, except as provided

CASE 0:24-cv-02944-KMM-JFD Doc. 1-2 Filed 07/25/24 Pagal of 4 acy

ub Kam 60

e Clerk of Court for the purpose of initiating

I. (a)

United States of America

PLAINTIFFS

(b) County of Residence of First Listed Plaintiff

(c) Attorney's (Firm Name, Address, and Telephone Number)

(EXCEPT IN U.S. PLAINTI

Emily M. Peterson Assistant U.S. Attorney

U.S. Attorney's Office, 600 U.S. Courthouse, 300 South 4th St.,

Minneapolis, MN 55415
(612) 664-5600

ys: Pus.

NOTE:

eso

DEFENDANTS

vergreen Recovery, Inc.; Evergreen Mental Health Services, Inc.; Ethos Recovery
Nic Inc.; Second Chances Recovery Housing Inc.; Second Chances Sober Living,
Inc.; David Backus; Shawn Grygo; and Shantel Magadanz

County of Residence of First Listed Defendant Ramsey

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

__. LAND INVOLVED.
rneys(If Known)

II. BASIS OF JURISDICTION | (Place an “x” AREY

(For Diversity Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES Place an “x” in One Box for Plaintiff

and One Box for Defendant)

Ai U.S. Government O 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 O 1 Incorporated or Principal Place O4 oO4
of Business In This State
O12 US. Government O14 Diversity Citizen of Another State O 2 OD 2 Incorporated and Principal Place Os O85
Defendant (Indicate Citizenship of Parties in Item IIT) of Business In Another State
Citizen or Subject of a O3 O 3 Foreign Nation Oc O86
Foreign Country
IV. NATURE OF SUIT (Place an “X” i One Box Only)
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
0 110 Insurance PERSONAL INJURY PERSONAL INJURY | 610 Agriculture 1 422 Appeal 28 USC 158 1 400 State Reapportionment
0 120 Marine O 310 Airplane 1 362 Personal Injury - O 620 Other Food & Drug 0) 423 Withdrawal O 410 Antitrust
0 130 Miller Act 315 Airplane Product Med. Malpractice 1 625 Drug Related Seizure 28 USC 157 O 430 Banks and Banking
0 140 Negotiable Instrument Liability 1 365 Personal Injury - of Property 21 USC 881 O1 450 Commerce
(1 150 Recovery of Overpayment |[] 320 Assault, Libel & Product Liability O 630 Liquor Laws PROPERTY RIGHTS 1 460 Deportation
& Enforcement of Judgment Slander 1 368 Asbestos Personal |) 640 R.R. & Truck 1 820 Copyrights 1 470 Racketeer Influenced and
(1 151 Medicare Act 1 330 Federal Employers’ Injury Product O 650 Airline Regs. 0 830 Patent Corrupt Organizations
0 152 Recovery of Defaulted Liability Liability 1 660 Occupational 0 840 Trademark O 480 Consumer Credit
Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health 01 490 Cable/Sat TV
(Excl. Veterans) 1 345 Marine Product 1 370 Other Fraud O 690 Other DO 810 Selective Service
(0 153 Recovery of Overpayment Liability 0 371 Truth in Lending LABOR SOCIAL SECURITY 1 850 Securities/Commodities/
of Veteran’s Benefits 1 350 Motor Vehicle 1 380 Other Personal 01 710 Fair Labor Standards 00 861 HIA (1395¢ff) Exchange
1 160 Stockholders’ Suits O) 355 Motor Vehicle Property Damage Act 0 862 Black Lung (923) 1 875 Customer Challenge
0 190 Other Contract Product Liability 0 385 Property Damage O 720 Labor/Mgmt. Relations |(1 863 DIWC/DIWW (405(g)) 12 USC 3410
(0 195 Contract Product Liability |() 360 Other Personal Product Liability O 730 Labor/Mgmt.Reporting |O1 864 SSID Title XVI f=) 890 Other Statutory Actions
0 196 Franchise Injury & Disclosure Act 1 865 RSI (405(g)) O 891 Agricultural Acts
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |O1 740 Railway Labor Act FEDERAL TAX SUITS O1 892 Economic Stabilization Act
0 210 Land Condemnation O 441 Voting 1 510 Motions to Vacate O1 790 Other Labor Litigation |O1 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
0 220 Foreclosure O 442 Employment Sentence O 791 Empl. Ret. Inc. or Defendant) O 894 Energy Allocation Act
0 230 Rent Lease & Ejectment D 443 Housing/ Habeas Corpus: Security Act O 871 IRS—Third Party D895 Freedom of Information
0 240 Torts to Land Accommodations O 530 General 26 USC 7609 Act
(0) 245 Tort Product Liability O 444 Welfare O1 535 Death Penalty O 900Appeal of Fee Determination
0 290 All Other Real Property O 445 Amer. w/Disabilities - | 540 Mandamus & Other Under Equal Access
Employment O1 550 Civil Rights to Justice
O 446 Amer. w/Disabilities - ] 555 Prison Condition O1 950 Constitutionality of
Other State Statutes
O 440 Other Civil Rights
V. ORIGIN (Place an “X” in One Box Only) Transferred fi AP eal to District
rred from udge from
Bl Original 2 Removed from D3 Remanded from O4 Reinstated or Gs another district 6 Multidistrict o7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

VI. CAUSE OF ACTION

18 ULS.C. 1345

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause: A civil action for a temporary restraining order to enjoin the alienation and disposition of
assets derived from the commission of federal health care offenses. and related equitable relief.

VII. REQUESTED IN

COMPLAINT:

O) CHECK IF THIS IS A CLASS ACTION

UNDER F.R.C.P. 23

DEMAND $

CHECK YES only if demanded in complaint:

JURY DEMAND:

WYes ONo

VII. RELATED CASE(S)

(See instructions):

IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
7/25/2024 s/ Emily M. Peterson, Assistant U.S. Attorney

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

see.

Ub R524

SS |

|

| us. DISTRICT COURT MPLS
